                Case 9:15-cv-01417-DJS Document 175 Filed 12/14/17 Page 1 of 14



    UNITED STATES DISTRICT COURT
    NORTHERN DISTRICT OF NEW YORK
    TRACY CANNON, as Administratrix of the Estate
    of MARK CANNON, Jr.,

                                            Plaintiff,
                     -v-                                                     Civ. No. 9:15-CV-1417
                                                                                     (DJS)
    CORRECTIONAL MEDICAL CARE, INC, et al.,

                                            Defendants.
D




    APPEARANCES:                                                     OF COUNSEL:

    LAW OFFICES OF ELMER ROBERT                                      ELMER R. KEACH, III, ESQ
    KEACH, III, P.C.                                                 MARIA K. DYSON, ESQ.
    Counsel for Plaintiff
    One Pine West Plaza, Suite 109
    Albany, NY 12205
J




    REBAR BERNSTIEL                                                  CATHLEEN KELLY REBAR,
    Counsel for CMC Defendants1                                      ESQ.
    Time & Life Building
    1271 Avenue of the Americas, Suite 4300
    New York, NY 10020

    THUILLEZ, FORD LAW FIRM                                          MOLLY C. CASEY, ESQ.
    Counsel for Defendant Coogan
    20 Corporate Woods Boulevard
    Albany, NY 12211
S




    BURKE, SCOLAMIERO LAW FIRM                                       THOMAS A. CULLEN, ESQ.
    Counsel for Defendant Goyer
    7 Washington Square
    Albany, NY 12205




            1
             The “CMC Defendants” include Correctional Medical Care, Inc., Emre Umar, Maria Carpio, Dr. Silver
    Masaba, and John Doe 1-2.
               Case 9:15-cv-01417-DJS Document 175 Filed 12/14/17 Page 2 of 14



    ALBANY COUNTY ATTORNEY’S OFFICE                                      TRACY A. MURPHY, ESQ.
    Counsel for Albany County Defendants2
    112 State Street, Suite 1010
    Albany, NY 12207

    TOWNE, RYAN LAW FIRM                                                 JOHN W. LIGUORI, ESQ.
    Counsel for Albany County Defendants
    450 New Karner Road
    P.O. Box 15072
    Albany, NY 12205
D




    DANIEL J. STEWART
    United States Magistrate Judge


                                            DECISION and ORDER

           On August 30, 2014, Mark Cannon, Jr. died while in the custody of the Albany

    County Sheriff. Thereafter, on November 25, 2015, this civil rights lawsuit was commenced
J




    by Tracy Cannon, the Administratrix of the Estate of Mark Cannon, Jr., against Correctional

    Medical Care and its staff, as well as against the County of Albany and its officials. Dkt. No.

    1, Compl. Nearing the end of a lengthy litigation process, a settlement conference was held

    with the Court which ultimately resulted in a settlement of the case. That settlement was

    placed on the record and consisted of a monetary payment between Correctional Medical
S




    Care and the County of Albany, and Plaintiff, with all other claims and cross-claims to be

    discontinued and dismissed. However, because the action involved the alleged wrongful

    death of Mark Cannon, Jr., whose sole distributee is his daughter, a formal motion to approve



           2
               The “Albany County Defendants” include County of Albany, Craig Apple, Sr., and Christian Clark.

                                                           -2-
              Case 9:15-cv-01417-DJS Document 175 Filed 12/14/17 Page 3 of 14



    the settlement was required pursuant to New York State Estates, Powers and Trusts Law

    (“EPTL”) § 5-4.6 and New York State Surrogate’s Court Procedure Act § 2204.

            On October 26, 2017, Plaintiff’s counsel filed a Motion to Approve Settlement of

    Wrongful Death And Civil Rights Action. Dkt. No. 165. The CMC Defendants are

    generally in support of the Motion to Approve Settlement, but object to certain statements

    and characterizations made by Plaintiff’s counsel in his Motion papers; question the
D




    procedure for the payment of the settlement and funding of the proposed structure; and have

    concerns regarding the scope of the non-disparagement clause agreed to by the parties. Dkt.

    Nos. 168 & 172. Defendants County of Albany, Goyer, and Coogan join in the request to

    settle the action. Dkt. Nos. 169, 170 & 171.

            With regard to the proposed settlement, the Court has considered the total settlement
J




    of $1,094,999.993 and finds it to be an appropriate resolution after considering the merits of

    the action. See EPTL § 5-4.6(a). The Court has dealt extensively with the facts of this case

    in prior rulings, in particular in its decision regarding the Commission of Correction Report,

    Dkt. No. 136, and incorporates those facts by reference in this Decision and Order. Plaintiff

    has alleged that there was a failure to provide Mark Cannon, Jr., with proper medical care,
S




    and further, that this failure was part of a broader pattern and practice implemented by

    Correctional Medical Care. Dkt. No. 52, Am. Compl. at ¶¶ 15-46; Dkt. No. 165-1, Keach

    Affirm. at ¶¶ 3-4. The Defendants have denied the allegations contained in the Amended


            3
              Of that amount, $999,999.99 is to be paid by Correctional Medical Care, Inc., and $95,000 is to be paid by
    the County of Albany.

                                                            -3-
                Case 9:15-cv-01417-DJS Document 175 Filed 12/14/17 Page 4 of 14



    Complaint, Dkt. Nos. 65 & 80, and the Albany County Defendants and the CMC Defendants

    specifically moved to dismiss, inter alia, Plaintiff’s pattern and practice claim. Dkt. Nos. 81

    & 99.4 Plaintiff’s attorney indicates to the Court several factors which counsel in favor of

    settlement, including the risks of litigation in this action, particularly as may relate to

    damages.        Keach Affirm. at ¶¶ 7-11.               Based upon the foregoing, together with the

    opportunity the Court had to discuss the matter privately with each side (as well as the
D




    mother of Mr. Cannon’s daughter) during a lengthy settlement conference, the Court

    concludes that the proposed settlement is appropriate under the facts and circumstances of

    this case.5

            It is also the Court’s obligation to review the proposed attorney’s fee requested by

    Plaintiff’s counsel. Mr. Keach notes that his firm expended $20,773.24 as disbursements in
J




    this matter, and further notes that his office spent approximately 800 hours in preparing and

    prosecuting the matter. Keach Affirm. at ¶¶ 13 & 16. In addition, Plaintiff Tracy Cannon,

    on behalf of the Estate of Mark Cannon, Jr., signed a retainer agreement authorizing a one-

    third attorney’s fee, calculated prior to the deduction of expenses. Id. at ¶¶ 5 &13; see also

    Dkt. No. 165-5. The Court has reviewed the retainer agreement and finds that it is in
S




    compliance with State law, and in particular with 22 N.Y.C.R.R. § 806.13 of the Appellate

    Division rules dealing with contingent fees in claims involving wrongful death.



            4
                The Motions to Dismiss were still pending at the time this settlement agreement was entered into.
            5
              Both Mr. Cannon’s mother, as well as the distributee’s mother, have submitted Affidavits in support of the
    proposed settlement. Dkt. Nos. 165-8 & 165-9.

                                                              -4-
             Case 9:15-cv-01417-DJS Document 175 Filed 12/14/17 Page 5 of 14



    Accordingly, the Court authorizes reimbursement of disbursements to Plaintiff’s counsel in

    the amount of $20,773.24, and approves an attorney’s fee award in the amount of

    $364,635.00, for a total amount of $385,408.24. Mr. Keach and his Firm will continue on

    as representative of the Estate in order to obtain Surrogate’s Court approval. In that regard,

    he shall be entitled to reimbursement of additional expenses from the Estate, but he shall not

    be entitled to any further fees for work related to the wrongful death claim. See Estate of
D




    Haag, 43 N.Y.S.3d 870 (N.Y. Sur. Ct. 2016).

            As to the settlement procedure, Plaintiff’s counsel is requesting that any distribution

    of the settlement proceeds be approved by the Surrogate’s Court.6 Further, Plaintiff’s

    counsel is requesting that $650,000.00 of the settlement proceeds be utilized to fund a

    structured settlement account for the benefit of Mr. Cannon’s minor daughter. Because of
J




    tax regulations specifically relating to the creation of such a structured settlement account,

    see Dkt. No. 173, Plaintiff’s counsel is requesting that the $650,000.00 not be paid until a

    short period of time after the Surrogate’s Court approves of the structured settlement and

    distribution. The remaining amount of the settlement consists of $385,408.24 in attorney’s

    fees and expenses, as well as a residual amount of $59,591.75. These amounts would be paid
S




    pursuant to New York’s prompt payment law. N.Y. C.P.L.R. § 5003-a. The above-

    referenced residual amount would be placed in an account as authorized by the May 24, 2016

    decree signed by the Honorable Vincent Versaci, Schenectady County Surrogate’s Court.


            6
              The proper venue for proceedings relating to the Estate is in the Surrogate's Court of the County of the
    decedent’s domicile at the time of his death. N.Y. SURR. CT. PROC. ACT § 205.

                                                           -5-
            Case 9:15-cv-01417-DJS Document 175 Filed 12/14/17 Page 6 of 14



    Dkt. No. 165-2. The Court agrees that the procedure outlined above is the correct procedure.

    L.R. N.D.N.Y. 17.1.

           The final issue in dispute concerns the terms of any non-disparagement agreement

    between the parties. During the course of the settlement conference with the Court, the

    Defendants requested, and the Plaintiff and her counsel agreed to, a non-disparagement

    clause in the settlement. The specific terms of that clause, however, are in dispute. Counsel
D




    for the CMC Defendants has proposed the following three paragraphs:

           This Release does not constitute an admission of liability by the Releasees.
           The Releasor, and their agents, representatives, and counsel, agree to strictly
           maintain the confidentiality of all the terms and conditions of this Release and
           the settlement, and to not disclose any information relating to any and all terms
           of this Release and the settlement to any person or entity.

           Releasor and their attorneys agree not to make any statements, written or
           verbal, or cause or encourage others to make any statements, written or verbal,
J




           that defame, disparage or in any way allege, intimate, infer, suggest or
           otherwise imply wrongdoing by Releasees related to the substance of this
           lawsuit. Releasor acknowledges and agrees that this prohibition extends to
           public or private statements, and statements made during the course of other
           and/or future litigation.

          Releasor and their attorneys acknowledge and agree that they will not
          reference this settlement as evidence of wrongdoing by Correctional Medical
          Care, Inc. or any of their current or former employees, or its successor
S




          corporations . . . in any public or private statements, or in statements made
          during the course of pending and/or future litigation.
    Dkt. No. 168 at pp. 2-3 (emphasis added).

           Counsel for Plaintiff objects to the terms of this proposal, which he believes amounts

    to an agreement that Plaintiff’s counsel never discuss the facts of this case again in any

    setting as a condition of the settlement. Dkt. No. 173 at p. 3. The Court starts with the


                                                  -6-
           Case 9:15-cv-01417-DJS Document 175 Filed 12/14/17 Page 7 of 14



    understanding of the parties on this issue as expressed during the settlement conference:

                  MS. REBAR: Yes, Your Honor, with the additional
           caveat that while I understand Your Honor is not
           going to seal or issue any types of additional

           protective orders, it's my understanding that Ms.
           Mundorf did discuss with Mr. Keach that the language
           of    the      settlement         agreement        would      make      the
D




           settlement,        as    far    as    Mr.     Keach     is    concerned,
           confidential. The same language that would appear in
           the Lynch settlement, settlement documents, would

           also appear in the Cannon settlement documents.

                  THE COURT: All right. I'm what sure what that

           language is. Certainly the parties can agree to
J




           anything, but I          can tell you just generally, and I
           know that you all understand this, is that this is

           a case that I think has public importance,and so

           insofar as it is my determination that the actual
           settlement and the approval of the settlement is
S




           going to be a public record.
                  But     Bob,     I    don't         know.   With      regard       to
           specifically what Cathleen said, do you understand

           what she's talking about?
                  MR. KEACH: I think there's some kind of --

           there's      language       that     Correctional        Medical       Care

                                                -7-
    Case 9:15-cv-01417-DJS Document 175 Filed 12/14/17 Page 8 of 14



    wants that I'm not going to rely upon the settlement

    of this case in other litigation. Certainly I can't

    rely upon the settlement of this case pursuant to
    the Federal Rules of Evidence in any event. That's

    not admissible, and none of the complaints I filed
    against Correctional Medical Care, while they have
    discussed the facts of cases that I've worked on,
D




    have    not   discussed       settlements          or   amounts     or
    anything like that. So if that's what -- I'm pretty

    sure    that's    what      Ms.    Rebar      is    referring       to.

    Certainly that's acceptable to me.
           THE COURT: Okay. Let me then turn -- Cathleen,

    is there anything further you want to add?
J




           MS. REBAR: I just want to relay the language as

    it was relayed to me just so we can -- that Mr.
    Keach agrees to confidentiality and no use in future

    litigation       of   the     settlement.          Is    that     your

    understanding, Mr. Keach?
S




           MR. KEACH: I don't understand what you mean by
    confidentiality.       I    mean        I'm   going     to   file   my

    documents supporting this settlement on the public
    record. The Court, this particular Court has already
    rejected confidentiality language in the Helijas

    matter. If what you're asking me is: Am I going to

                                      -8-
            Case 9:15-cv-01417-DJS Document 175 Filed 12/14/17 Page 9 of 14



           go out there as part of this settlement and go on TV
           or to the newspapers and say all kinds of derogatory

           stuff about Correctional Medical Care? The answer is
           no. I'm not going to do that. Is that what you're

           concerned about?
                  MS. REBAR: Yes.
                  MR. KEACH: You're buying complete peace from me,
D




           Cathleen, and complete peace is what you're going to
           get from this case. I don't have any control over

           the newspapers and what they print or don't print.

           All I'm going to say is that my client is satisfied
           with the settlement and that, you know, is glad that

           her grandchild will benefit from the proceeds of the
J




           estate, something like that in words or substance.
           Does that meet with your approval?

                  MS. REBAR: Yes, thank you.

    Dkt. No. 174 at pp. 7-9.

           The Court understands that there are significant disputes with regard to the underlying
S




    facts of this case, and that the settlement of this action is not an admission by any Defendant

    that they engaged in misconduct or wrongdoing. Further, it is well-settled that a “settlement

    neither requires nor implies any judicial endorsement of either party’s claims or theories.”

    Bates v. Long Island Railroad Co., 997 F.2d 1028, 1038 (2d Cir. 1993). Further, Federal

    Rule of Evidence 408 governs the admissibility of settlement agreements. It provides:

                                                  -9-
           Case 9:15-cv-01417-DJS Document 175 Filed 12/14/17 Page 10 of 14



                   (a) Prohibited Uses. Evidence of the following is not
                   admissible – on behalf of any party – either to prove or disprove
                   the validity or amount of the disputed claim or to impeach by a
                   prior inconsistent statement or contradiction:

                   (1) furnishing, promising, or offering – or accepting, promising to
                   accept, or offering to accept – a valuable consideration in
                   compromising or attempting to compromise the claim; . . .

    The parties are in agreement with this general principle. Therefore, the first paragraph of the

    CMC Defendants’ proposal is warranted and appropriate.
D




           As to the second paragraph, this paragraph goes to the heart of Plaintiff’s obligation

    not to disparage the Defendants in any setting. However, by adding the words “and their

    attorneys” and by referencing future legal cases, the proposed agreement significantly

    affects Plaintiff’s counsel’s role in representing future clients in the courtroom. In other

    words, will Plaintiff’s counsel be prevented from introducing or arguing the underlying facts
J




    of this action in some future lawsuit? The Court does not believe that such a result was

    intended nor agreed to.

           While evidence of the settlement would not generally be admissible against any

    Defendant as evidence of negligence or misconduct, the settlement cannot bar inquiry into
S




    the facts of the case if they are legitimately at issue in some future lawsuit. Of course,

    whether evidence of the facts of this case are proportionally relevant to the needs of some

    future case, see FED. R. CIV. PROC. 26(b)(1), or admissible at a trial, is ultimately an issue for

    the District Court or the presiding Magistrate Judge in that future case. This Court cannot

    foreclose that avenue of inquiry, nor can the parties agree to preclude existing facts as


                                                  -10-
             Case 9:15-cv-01417-DJS Document 175 Filed 12/14/17 Page 11 of 14



    admissible evidence. In the case of Mark Cannon, Jr., for example, the Commission of

    Correction has already issued a detailed report concerning its findings of the medical care

    provided to Mr. Cannon, and the relationship between that level of medical care and Mr.

    Cannon’s death. A plaintiff in a future lawsuit against Correctional Medical Care could

    certainly make reference to that finding by a public agency, and all the facts upon which it

    was based, as specifically noted in this Court’s decision dated June 27, 2017. Dkt. No. 136.
D




    It would be incongruous, therefore, for the Court to approve an agreement whereby one

    plaintiff could introduce evidence of the Commission of Correction Report and argue that

    the facts of the Cannon incident supported his or her case in connection with some issue of

    notice, or a claim of Monell liability, but another plaintiff, who happened to be represented

    by Plaintiff’s counsel, could not.7 No such limitation was agreed to by the parties and their
J




    counsel at the settlement conference, and therefore the Court will not compel Plaintiff’s

    counsel to abide by such a limitation.

             The Court’s ruling is further supported by the language of the Lynch settlement, the

    terms of which the lawyers specifically referenced during the settlement colloquy. The

    Lynch settlement agreement has now been provided to the Court, and it contains the specific
S




    language of paragraph two, without the addition of the words “and their attorneys.” The

    Court therefore modifies the proposed language to eliminate these three words, and otherwise

    approves of the proposed second paragraph.

             7
               Such a limitation would also create significant ethical concerns. See N.Y. Rules of Prof’l Conduct R. 5.6(a)(2)
    (“A lawyer shall not participate in offering or making . . . (2) an agreement in which a restriction on a lawyers right to
    practice is part of the settlement of a client controversy.”).

                                                              -11-
           Case 9:15-cv-01417-DJS Document 175 Filed 12/14/17 Page 12 of 14



           As to the third proposed paragraph, I find that this language is appropriate. Plaintiff’s

    counsel made specific representations at the settlement conference to counsel for the CMC

    Defendants that he would not make disparaging public statements with regard to the Cannon

    settlement, and would merely state that Plaintiff was satisfied with the result. In the words

    of Plaintiff’s counsel, the settlement agreement bought “complete peace” in connection with

    public statements by Plaintiff’s counsel. The third paragraph properly encapsulates this
D




    agreement.

           For the reasons stated herein, it is hereby

           ORDERED, that Plaintiff’s Motion for Court Approval of the Wrongful Death

    Settlement (Dkt. No. 165) is GRANTED; and it is further

           ORDERED, that the letter motions of the Albany County Defendants, the CMC
J




    Defendants, and Defendants Coogan and Goyer (Dkt. Nos. 168-172) are GRANTED to the

    extent they are consistent with this Decision and Order; and it is further

           ORDERED, that all claims against Defendants Correctional Medical Care, Inc.,

    Umar, Carpio, Masaba, County of Albany, John Doe 1-3, Goyer, Coogan, Apple, Sr., and

    Clark are hereby DISMISSED; and it is further
S




           ORDERED, that all cross-claims are DISMISSED; and it is further

           ORDERED, that the Albany County Defendants and the CMC Defendants’ Motions

    to Dismiss (Dkt. Nos. 81 & 99) are DENIED as moot; and it is further

           ORDERED, that Tracy Cannon, as Administratrix of the Estate of Mark Cannon, Jr.,



                                                 -12-
           Case 9:15-cv-01417-DJS Document 175 Filed 12/14/17 Page 13 of 14



    is hereby authorized to accept the sum of $1,094,999.99 for settlement of all claims made on

    behalf of the decedent in this matter, said amount to include all claims for attorney’s fees and

    costs. The Administratrix of the Estate of Mark Cannon, Jr. is further authorized to execute

    and deliver to the CMC Defendants and the Albany County Defendants a release for all

    claims asserted, or that could have been asserted in this litigation; and it is further

           ORDERED, that the terms of any non-disparagement agreement shall be consistent
D




    with this Court’s ruling; and it is further

           ORDERED, that the Application of Plaintiff’s Attorney for attorney’s fees and

    expenses is GRANTED. Plaintiff’s attorney is awarded $20,773.24 as reimbursement for

    litigation expenses, and $364,635.00 in attorney’s fees, pursuant to the terms of the signed

    retainer agreement with the Law Offices of Elmer Robert Keach, III, P.C.; and it is further
J




           ORDERED, that $650,000.00 of the settlement proceeds shall be held by the settling

    parties, and their insurance carriers, to fund a structured settlement agreement for Mark

    Cannon, Jr.’s daughter, said structured settlement to be approved by the Schenectady County

    Surrogate’s Court, and to be funded within a period of time to be determined by the

    Surrogate’s Court; and it is further
S




           ORDERED, that $385,408.24 in attorneys fees and expenses shall be paid to

    Plaintiff’s counsel pursuant to the time constraints set forth in New York’s Prompt Payment

    Statute, C.P.L.R. § 5003-a; and it is further

           ORDERED, that the remaining share of the settlement, $59,591.75, shall be paid to

    Plaintiff’s counsel pursuant to the time constraints set forth in New York’s Prompt Payment

                                                    -13-
              Case 9:15-cv-01417-DJS Document 175 Filed 12/14/17 Page 14 of 14



    Statute, C.P.L.R. § 5003-a, the distribution of which is referred to the Schenectady County

    Surrogate’s Court for disposition; and it is further

              ORDERED, that Plaintiff’s counsel shall continue to serve as attorney for the Estate

    until the entry of the final decree in the Schenectady County Surrogate’s Court; and it is

    further

              ORDERED, that jurisdiction is retained over this matter to enforce the terms of the
D




    settlement agreement; and it is further

              ORDERED, that the Clerk of the Court serve a copy of this Decision and Order upon

    the parties to this action.



    Date: December 14, 2017
          Albany, New York
J
S




                                                  -14-
